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                          IN        THE UNITED STATES DISTRICT    COURT FOR                                                      ,","u,qf-l]fr[i;,9
                                         SOUTHERN DISTRICT    OF GEORGIA
                                               DI'BI.IN DIVISION                                                                         Z0lr{
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 UNITED STATES OF AMERICA,                                                                                                                                 lst.nr eI
                                                                                             CASE NO.                 cR 312-003

 N]CO HARSWELL.




                                                                     ORDER




             Before the Court is Mr, Nico Harswelf's                                                             motion to dismiss

 his        earl,er                 filed          pro        se motj on tor                     recurn           oI        property.                            Ihe

 motion            is          GRANTED,

             alh      .rr,l17 ?l                 ,i1     L     My       L{rrerroll                                 lr,       eorrrinn                 .:         21O


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      Jy<    '   ,)rr .        t.]n    nAur 9
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 P.                                               "J -


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 motlon            because it                     was not properly                           before            this          Cour:t.

             Upon due consideration                                     this           Court finds               that            dismissal                         is

 appropriate.                         IT         fS      THEREFOREORDERED that                                         Mr.             Harswelf's

 motion            to dismiss                      (doc. no.                795) is             GRjAIiITED.
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 The Cferk     is   directed   t o T E R M I N A T EM r . H a r s w e f l ' s   motion   for

 return   of



                         2 A r 4.




                                             UNITED STA               DISTRICT JU
